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     a
'. ~ 0 3 6   8 0 0 ~ Q   -10
                            TN THE DISTRICT COURT OF OKLAHOMA COUNTY
                                        STATE OF OKLAHOMA         FILED IN DISTRICT COURT
                                                                     OI(LAHOMA COUNTY
             SANDRA RHAE HESKETT,              )
                 Plaintiff.                    )                          F~ij '* 1 ~g17
                                                             )
             Vs.                            )                                                      R tbt1_,iW
             THEODORA ANGELINE LASSITER,
                                            )
                                            )                        Case No.
                                                                                                 89-----
             SAMUEL ALEXANDER LASSITER,     )
             and METROPOLITAN LIFE INSURANCE)
             COMPANY,                       )
                                                                                       CJ - 2017 - 702
                   Defendants.              )

                                                            PETITION

                   1. Plaintiff, Sandra Rhae Heskett, is an individual and a resident of Oklahoma County,

                      Ok1ahoma. Her address is 18437 Las Meninas Dr., Edmond, Oklahoma.

                   2. Defendant Theodora Angeline Lassiter is an individual, and through belief, a resident of

                       Oklahoma County, Oklahoma who resides at 1600 S. Rankin, Edmond, Oklahoma.

                   3. Defendant Samuel Alexander Lassiter, is an individual, and through belief, a resident of

                       Oklahoma County, Oklahoma who resides at 1600 S. Rankin, Edmond, Oklahoma.

                   4. Defendant Metropolitan Life Insurance Company is a foreign Corporation in good

                      standing whose offices are located at 200 Park Ave., New York City, New York.

                   5. Venue 1S proper in Oklahoma County against Metropolitan Life Insurance Company

                      pursuant to 12 O.S. § 137 in that this action is for breach of contract and foreign

                      Defendant is an insurance company with agents in Oklahoma County, Oklahoma and the

                      cause of action arose in Oklahoma County, Oklahoma.

                                            COUNT 1- BREACH OF CONTRACT

                   6. Plaintiff incorporates the allegations contained in paragraphs 1 through 5 as if fully set

                      forth herein.


                                                  Exhibit
                                                        1
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7. On November 21,2016, Mark Eugene Lassiter, a client of Metropolitan Life Insurance

   Company (hereinafter "'MetUfe") signed a Designation of Beneficiary form (hereinafter

   "form") for the Federal Employees' Group Life Insurance Program. The fonn is an Offer

   from MetLife to fulfill the tenus outlined in the fonn. Attached as Exhibit A.

8. The fonn designated Defendants Samuel Alexander Lassiter and Theodora Angeline

   Lassiter, Plaintiff Sandra Rhae Heskett, and minor child Jayden Zachary Lassiter as

   beneficiaries of the policy.

9. Part C of the fonn states "I am cancelling any and all previous Designations of

   Beneficiary under the Federal Employees' Group Life Insurance Program and am now

   designating the beneficiary (ies) named above."

10. Mark Eugene Lassiter signed the form in front of2 witnesses, Scott Mahnke and Eric

   Solomon to verify his identity. At this point, Mark Lassiter accepted the offer to change

   his beneficiary and created a contract for himself and the beneficiaries with MetLife.

   Testimony of Witnesses attached as Exhibit B.

11 . The form was sent to MetLife. On or about December 22, 2016, Mark Eugene Lassiter

   died.

12. Mark Lassiter continued to make his payments to MetLife for the life insurance policy

   and the policy was in good standing at the time of his death.

13. The heirs of Mark Lassiter contacted MetLife. MetLife breached its contract with Mark

   Lassiter and Plaintiffby refusing to honor the contract created. MetLife did not pay

   Plaintiff her share of the policy, paying Defendants Theodora Lassiter and Samuel

   Lassiter pursuant to a 2013 Designation of Beneficiary fonn instead. As such, Plaintiff is

   entitled to sue for breach of contract as a third-party beneficiary. See Zahn v. Gen. Ins.
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   Co., 611 P.2d 645, 647 (Okla. 1980); Christian v. Metropolitan tifeIns. Co., 566 P.2d

   445, 448 (Okla. 1977). See also, 15 O.S. § 29.

14. By refusing to perform under the tenns of the contract, Defendant MetLife committed a

   material breach of contract for which Plaintiff is entitled to damages in excess of

   $10,000.

COUNT 11- VIOLATION OF TITLE 36 CHAPTER 40 OKLAHOMA STATUTES

15. Plaintiff incorporates the allegations set forth in paragraphs 1 - 14 as if fully set forth

   herein.

16. Life Insurance policies are subject to Title 36, Chapter 40 of the Oklahoma Statutes. 36

   O.S. § 400l.

17. Defendant MetLife violated 36 O.S. § 4030.1 by not providing necessary fonus to

   Plaintiff, Sandra Heskett, within 10 days after receiving notice of the death of Mark

   Lassiter to prove the death of Mark Lassiter and her claim to payment. Also, Defendant

   MetLife did not pay Plaintiff, Sandra Heskett, her portion of the policy within 30 days of

   receiving proof of the death of Mark Lassiter.

18. Moreover, Defendant MetLife violated 36 O.S. § 3629 by not providing proof of loss

   forms to Plaintiff, Sandra Heskett.

19. These violations alJow Plaintiff to recover attorney fees and interest on the unpaid benefit

   in this case.

                             COUNT III - UNJUST ENRICHMENT

20. Plaintiff incorporates the allegations contained in paragraphs 1 through 19 as if set forth

   herein.
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   21. The acts of non-performance by Defendant MetLife have unjustly enriched Defendants

       Samuel Alexander Lassiter and Theodora Angeline Lassiter.

   22. The acts ofnon-pertonnance by Defendant MetLife and unjust enrichment of Defendants

       Samuel Lassiter and Theodora Lassiter caused Plaintiff detriment in an amount exceeding

       $10,000 as Plaintiff has a reasonable expectation of perfonnance by Defendant MetLife.

                                    RELIEF REOUESTED

WHEREFORE, Plaintiff respectfully requests she be given judgment against the Defendants on

the above causes of action and requests the following relief:

       a. Breach of contract damages in an amount exceeding $1 O,OOO~

       b. Detriment damages from unjust enrichment in an amount exceeding $10,000;

       c. Attorney fees together with interest and the costs of filing suit;

       d.

                                                                rah C. Stewart, #22726
                                                           Sarah Stewart Legal Group
                                                          929 NW 164 St., PMB 308
                                                          Edmond, OK 73013
                                                          T: (405) 548-5763
                                                          F: (405) 721-2111
                                                          sstewart@.sarahstewartlaw.com
                                                          Attorney for Plaintiff

ATTORNEY LIEN CLAIMED
           Case 5:17-cv-00236-C Document 1-1 Filed 03/03/17 Page 5 of 10




                                            VERIFICATION
STATE OF OKLAHOMA              )
                               )      ss.
COUNTY OF OKLAHOMA             )




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SANDRA RHAE HESKETT read the foregoing Petition, she is familiar with the contents thereof, and the

facts   thercin   ~MOO

                                     ~           RHAE HESKETT, Plaintiff
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                      EXHIBIT A

DESIGNATION OF BENEFICIARY FORM
                        Case 5:17-cv-00236-C Document 1-1 Filed 03/03/17 Page 7 of 10


--"-
FBCILI                                                            Designation of Beneficiary
                                                                                                                                                                      Form Approved
                                                                                                                                                                   OMB No. 112ll6-0136

                                             Federal Employees' Group LIfe Insurance (FEGU) Program                                                                        Important:
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Theodora Angeline Lassiter                                   Redact                                                                         Daughter                               10

Jaydan Zachary Lassiter                                       Redact                                                                                                               30

Sandra Rhae Heskett                                          Redact




                                          Total ("&I$t equal 100% or 1.0) (Do not usa dollar amounts)                                                                             100
                                          (Do   not put B Total                            of insu"~.       Se~



Your name and address (Including ZIP code)                                              Ptease check one:                          PJelllc che<:k lilt three:
                                                                                        111111:
 Mark Lassiter
~ELas~eninasDr                 _ _ _________ _                                          x~ the Insured                              x; I have not assigned the Insur8l1ce.
                                                                                              an Assignee
                                                                                                                                    v:    Two people who witnessed my
 Edmond, OK 73012                                                                                                                   0; signature signed     below.
                                                                                                                                    ~     I did not name either wI1ness as a
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FEGLI Handbook (RI 76-215)                                                                                        Prevlo\i$ ed!tlons are not u.able.                  Re\liaed May 2014
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                     EXHIBITB

AFFIDAVITS OF TESTIMONY FROM
 WITNESSES TO DESIGNATION OF
      BENEFICIARY FORM
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                       AFFIDA VIT OF TESTIMONY OF WITNESS TO
                         DESIGNATION OF BENEFICIARY FORM

STATE OF OKLAHOMA )
                  )                  SS.
COUNTY OF OKLAHOMA)

Before me this day personally appeared ERIC SOLOMON, who, first being duly sworn states:

   1. Affiant is Eric Solomon.
   2. Affiant knew Mark Eugene Lassiter.
   3. To Affiant's knowledge, Mark Eugene Lassiter lived at 18437 Las Meninas Dr., Edmond,
       OK 73012.
   4. To Affiant's knowledge all information on the fonn is correct, except line A, stating the
       signer was "Lassiter, Marak Eugene."
   5. Affiant knew the signer to be Mark Eugene Lassiter.
   6. Affiant witnessed Mark Eugene Lassiter sign the Designation of Beneficiary form for
       Federal Employees' Group Life Insurance Program.
   7. The document was signed November 21,2016.
   8. At the time of the signing., Mark Eugene Lassiter appeared to understand and want to sign
       the document.
   9. Affiant is not a beneficiary of the policy.



Eric SoiomO'n :Affiant




                         I~ (I (/
My commission expires: '         (
                    Case 5:17-cv-00236-C Document 1-1 Filed 03/03/17 Page 10 of 10
-   ,   .



                                AFFIDAVIT OF TESTIMONY OF WITNESS TO
                                  DESIGNATION OF BENEFICIARY FORM.

            STATE OF OKLAHOMA )
                              )                  SS.
            COUNTY OF OKLAHOMA)

            Before me this day personally appeared SCOTI' iv1AHNKE, who, first being duly sworn. states:

               1. Affiant is Scott Malmke.
               2. Affiant knew Mark Eugene Lassiter.
               3. To Affiant's knowledge, Mark Eugene Lassiter lived at 18437 Las Meninas Dr., Edmond,
                   OK 73012.
               4. To Affiant's knowledge all information on the form is correct, except line A: stating the
                   signer was "Lassiter, Marak Eugene."
               5. Affiant knew the signer to be Mark Eugene Lassiter.
               6. Affiant witnessed Mark Eugene Lassiter sign the Designation of Beneficiary form for
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               7. The document was signed November 21,2016.
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                   the doc:ument.
               9. Affiant is not a benefi1yfthe policy.


            a.w4 :JdL-
            Scott Mahnke, Affiant
